Case 1:19-cv-20264-JG Document 283-2 Entered on FLSD Docket 09/26/2022 Page 1 of 4




                      EXHIBIT “B”
Case 1:19-cv-20264-JG Document 283-2 Entered on FLSD Docket 09/26/2022 Page 2 of 4




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                  CASE NO.: 19-cv-20264-GOODMAN
                                        [CONSENT CASE]

  ERIC EWING,

           Plaintiff,

  vs.

  CARNIVAL CORPORATION,

        Defendant.
  ___________________________________/

                DEFENDANT’S THIRD SUPPLEMENTAL RULE 26 DISCLOSURE

           The Defendant, CARNIVAL CORPORATION, by and through undersigned counsel, and

  pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, files its Third Supplemental

  Disclosure as follows:

        (A)(ii) Description of documents and/or tangible things to be used to support defenses:

           1.      Subject forward Pullman bunk bed and all accompanying parts. To be removed

  from Carnival Ecstasy on October 18, 2022.

           2.      Video IMG_4617.MOV.

           3.      Video IMG_4618.MOV.

           4.      Standard cutlery set delivered to passenger cabins as part of room service order.




                                           HORR, NOVAK & SKIPP, P.A.
                 TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
Case 1:19-cv-20264-JG Document 283-2 Entered on FLSD Docket 09/26/2022 Page 3 of 4
                                                                 CASE NO.: 19-CV-20264-GOODMAN
                                                                                 [CONSENT CASE]
                                                                                           Page 2

                                   CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that on September 23, 2022, served via email the foregoing

  document on all counsel of record or pro se parties identified on the attached Service List.


                                                 /s/ Juan C. Perez, Jr.
                                                David J. Horr
                                                Florida Bar No.: 310761
                                                dhorr@admiral-law.com
                                                Juan C. Perez, Jr.
                                                Florida Bar No.: 91581
                                                jperez@admiral-law.com
                                                HORR, NOVAK & SKIPP, P.A.
                                                Two Datran Center, Suite 1700
                                                9130 South Dadeland Boulevard
                                                Miami, FL 33156
                                                Telephone: (305) 670-2525
                                                Facsimile: (305) 672-2526
                                                Attorneys for Defendant




                                        HORR, NOVAK & SKIPP, P.A.
              TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
Case 1:19-cv-20264-JG Document 283-2 Entered on FLSD Docket 09/26/2022 Page 4 of 4
                                                                 CASE NO.: 19-CV-20264-GOODMAN
                                                                                 [CONSENT CASE]
                                                                                           Page 3


                                           SERVICE LIST

   Keith Brais                                          David J. Horr
   Florida Bar No.: 0863319                             Florida Bar No.: 310761
   kbrais@braislaw.com                                  dhorr@admiral-law.com
   Michelle Y. Gurian                                   Juan C. Perez, Jr.
   Florida Bar No.: 100312                              Florida Bar No.: 91581
   mgurian@braislaw.com                                 jperez@admiral-law.com
   BRAIS LAW FIRM                                       HORR, NOVAK & SKIPP, P.A.
   9300 S. Dadeland Blvd., Suite 101                    Two Datran Center, Suite 1700
   Miami, FL 33156-2704                                 9130 South Dadeland Boulevard
   Telephone: (305) 416-2901                            Miami, FL 33156
   Facsimile: (305) 416-2902                            Telephone: (305) 670-2525
   Attorneys for Plaintiff, Eric Ewing                  Facsimile: (305) 672-2526
                                                        Attorneys for Defendant, Carnival
                                                        Corporation

                                                        Donnise DeSouza Webb
                                                        Florida Bar No. 879398
                                                        ddesouza@carnival.com
                                                        Carnival Cruise Lines
                                                        3655 N.W. 87 Avenue
                                                        Miami, FL 33178-2428
                                                        Telephone: (305) 406-4838
                                                        Facsimile: (305) 406-4732
                                                        Co-Counsel for Defendant, Carnival
                                                        Corporation




                                        HORR, NOVAK & SKIPP, P.A.
              TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
